4:11-cr-03087-JMG-CRZ              Doc # 135    Filed: 10/04/12   Page 1 of 1 - Page ID # 341




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                                    4:11CR3087

       vs.
                                                          MEMORANDUM AND ORDER
TERRELLE L. TYLER,

                      Defendant.


       Defense counsel has moved to withdraw due to a conflict of interest. (Filing No. 133).
Defendant Tyler is eligible for appointed counsel pursuant to the Criminal Justice Act, 18 U.S.C.
§3006A, and the Amended Criminal Justice Act Plan for the District of Nebraska.

       IT IS ORDERED:

       1)     Defense counsel's motion to appoint new counsel, (filing no. 133), is granted.
              Joel G. Lonowski is hereby withdrawn as counsel, and he shall promptly notify
              the defendant of the entry of this order.

       2)     The clerk shall delete Joel G. Lonowski from any future ECF notifications herein.

       3)     The clerk shall forward this memorandum and order to the Federal Public
              Defender.

       4)     The Federal Public Defender shall forthwith provide the court with a draft
              appointment order (CJA Form 20) bearing the name and other identifying
              information of the CJA Panel attorney identified in accordance with the Criminal
              Justice Act Plan for this district.

       5)     The newly appointed counsel shall promptly file an entry of appearance on behalf
              of the defendant.

       October 4, 2012.                              BY THE COURT:

                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
